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 8                                IN THE UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                         CASE NO. 1:12-CR-00326-AWI-BAM-2
12                                   Plaintiff,        FINAL ORDER OF FORFEITURE
13                            v.
14   DAMIAN MORALES-JERONIMO,

15                                 Defendant.
16

17          WHEREAS, on November 26, 2013, this Court entered a Preliminary Order of
18 Forfeiture pursuant to the provisions of 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. § 2461(c) and

19 Fed. R. Crim. P. 32.2(b)(1), based upon the plea agreement entered into between plaintiff

20 and defendant Damian Morales-Jeronimo forfeiting to the United States the following

21 property:

22                   I.      Items seized from LIBRADA SUCILLA-SANCHEZ at Mono Ave. in
23 Fresno, California:

24                           A.      5,646 counterfeit audio CDs,
25                           B.      28,487 counterfeit movie DVDs, and
26                           C.      1 Samsung Cell Phone,
27                   II. Items seized from JOSE EDUARDO JERONIMO and DAMIAN
28 MORALES-JERONIMO at Illinois Ave. in Fresno, California:

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 1                          A.   4,747 counterfeit audio CDs,
 2                          B.   1,000 jewel cases,
 3                          C.   300 disc envelopes,
 4                          D.   176 music videos - CDs,
 5                          E.   425 inserts,
 6                          F.   24,560 counterfeit movie DVDs,
 7                          G.   1 laptop computer,
 8                          H.   8 San Disc Memory Cards with adapters,
 9                          I.   8 cellular phones,
10                          J.   2 Pioneer DVD Writer units,
11                          K.   3 tower CD/DVD duplicators, and
12                          L.   1 box of .38 caliber ammunition,
13                  III. Six counterfeit movie DVDs seized from 5311 E. Huntington Ave.,
14 Fresno, California.

15                  IV. Items seized from JOSE ANTONIO HERNANDEZ and GENARO VELA-
16 RODRIGUEZ at Effie Street in Fresno, California:

17                          A.   5,568 counterfeit audio CDs,
18                          B.   31,839 counterfeit movie DVDs,
19                          C.   10 counterfeit audio CDs,
20                          D.   4,700 clear CD/DVD sleeves,
21                          E.   45,000 CD/DVD insert cards,
22                          F.   7 tower CD/DVD duplicators,
23                          G.   5 cellular phones:
24                     1.   Red Motorola Razor
25                     2. Black LG Verizon
26                     3. Black Motorola Nextel
27                     4. Black T-Mobile Samsung
28                     5. Black Cricket Sanyo

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 1                           H.   1 Samsung Plasma TV, S/N AUMH3CQS509788D
 2                           I.   1 Sony Camcorder, Model DVX-801
 3                           J.   1 Garmin GPS,
 4                           K.   10 counterfeit bills of U.S. currency (9x $100 and 1x $20)
                                  totaling $920,
 5

 6                           L.   $2,401 U.S. Currency seized from JOSE ANTONIO
                                  HERNANDEZ, and
 7
                             M.   $286 U.S. Currency seized from GENARO VELA-RODRIGUEZ,
 8
                     V. Items seized from 149 S. Dearing, Fresno, California:
 9
                             A.   3,658 counterfeit movie DVDs
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                             B.   5,069 counterfeit CDs
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            AND WHEREAS, beginning February 15, 2015, for at least 30 consecutive days, the
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     United States published notice of the Court’s Order of Forfeiture on the official internet
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     government forfeiture site www.forfeiture.gov. Said published notice advised all third
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     parties of their right to petition the Court within sixty (60) days from the first day of
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     publication of the notice for a hearing to adjudicate the validity of their alleged legal
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     interest in the forfeited property;
17
            AND WHEREAS, the Court has been advised that no third party has filed a claim
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     to the subject property and the time for any person or entity to file a claim has expired.
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            Accordingly, it is hereby ORDERED and ADJUDGED:
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            1. A Final Order of Forfeiture shall be entered forfeiting to the United States of
21
     America a1l right, title, and interest in the above-listed property pursuant to 18 U.S.C. §
22
     981(a)(1)(C), 28 U.S.C. § 2461(c) and Fed. R. Crim. P. 32.2(b)(1), to be disposed of
23
     according to law, including all right, title, and interest of Damian Morales-Jeronimo.
24
            2. All right, title, and interest in the above-listed property shall vest solely in the
25
     name of the United States of America.
26
            3. The Department of Homeland Security, Immigration Customs Enforcement or
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     Customs and Border Protection shall maintain custody of and control over the subject
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      Final Order of Forfeiture                      3
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 1 property until it is disposed of according to law.

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 3 IT IS SO ORDERED.

 4 Dated: August 19, 2015
                                           SENIOR DISTRICT JUDGE
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